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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    JAMES G. KILPATRICK,                                CASE NO. C20-0908-JCC
10                           Plaintiff,                   MINUTE ORDER
11           v.

12    VERIZON WIRELESS SERVICES, LLC, d/b/a
      VERIBZON WIRELESS, a Delaware Limited
13    Liability Company,
14                           Defendant.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.
17   Coughenour, United States District Judge:
18          This matter comes before the Court on the parties’ stipulation and order to dismiss (Dkt.
19   No. 14). Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), a case may be dismissed without
20   a court order if there is a “stipulation of dismissal signed by all parties who have appeared.”
21          Here, all parties that have appeared stipulate that all claims shall be dismissed with
22   prejudice and without attorneys’ fees or costs to any party. (Dkt No. 14.) Thus, under Federal
23   Rule of Civil Procedure 41(a)(1)(A), this stipulation is self-executing. All claims in this action
24   are DISMISSED with prejudice and without award of costs or fees to either party. The Clerk is
25   directed to CLOSE this case.
26   //

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 1        DATED this 9th day of November 2020.

 2                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Paula McNabb
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                                                 Deputy Clerk
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